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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Mar guerite Gabriel INITIAL SCHEDULING ORDER

Plaintiff(s),
19 Civ.6738 (RRM) (VMS)

-against-

Newrez LLC

Defendant(s).

It is hereby ORDERED as follows:

1)

2)

3)

4)

Defendant(s) shall answer or otherwise move with respect to the complaint by

N/A - Defendant has already filed pre-motion conference request for a motion to dismiss.

Initial disclosures required by Rule 26(a)(1) of the Federal Rules of Civil Procedure
; 2/28/2020

must be completed b , if not yet completed. The disclosures should
include as detailed a calculation of damages as possible and authorizations for

release of medical and other relevant records.

3/11/2020
25

interrogatories. The parties are informed that the presumptive cap on the number of

Initial document requests and interrogatories will be served no later than

If the parties intend to issue interrogatories, they will serve no more than

interrogatories is 25, including subparts.
Any joinder and/or amendments of the pleadings must be made by 4/ 2 2/ 2 Q2 0 ‘
By this date, the parties must either stipulate to the joinder and/or amendments of the

pleadings or commence motion practice for leave to join and/or amend in accordance

with the Individual Rules of the District Judge assigned to this case.
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5)

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11)

12)

If the parties expect to engage in electronic discovery, they will submit a proposed plan

to the Court by 2/28/2020 ‘
7/14/2020,

Fact discovery closes

Note: Treating physicians who may be called as fact witnesses should generally
provide their reports or summaries and be deposed during fact discovery.

Non-party fact discovery shall be completed by this date as well.

ise of initial experts shall be 7

As to expert disclosures,

    
   
  
  

a) The names, qualifications and area(s) of e

7/14/2020

served onor before

7/21/2020
8/3/2020

c) Reb expert witness reports shall be served on or before

b) Initial expert wjtaéss reports shall be served on or before

All discovery, including any dep +hy/-2 of experts, shall be completed on or before

8/11/2620 -

8/2 UIA CY
On or before , the parties must file 0n ECF a joint letter to the

magistrate judge confirming that discovery is concluded.

9/4/2020

Any dispositive motion practice must be commenced by:

Note: Parties must consult the Individual Rules of the District Judge assigned to this
case to determine, inter alia, if a pre-motion conference letter is required before a
dispositive motion is filed, whether a Local Rule 56.1 statement must first be submitted
with the pre-motion conference letter or motion, and whether such a motion should

only be filed when fully briefed.

 

10/16/2020.

A proposed joint pre-trial order must be filed by

Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C. § 636(c)?
a) Yes ©

b) No © (De NOT indicate which party has decline to consent)

Tf yes, fill out the AO 85 (Rey. 01/09) Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge Form and file it on ECF. See
http://www.uscourts. gov/FormsAndFees/Forms/CourtFormsByCatevory.aspx

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13)

14)

15)

16)

17)

18)

A discovery conference is set for G As fi J 25 ( [-08 in Gerson / by telephone.

(The Court will schedule this date). The conference call will be arranged and
initiated by Plaintiff or Defendant (circle one) to Chambers at (718) 613-2300.

A joint discovery status letter must be filed on ECF by Cf, 2 oreparation for

the discovery conference. (The Court will schedule this date).

A final pre-trial conference is set for { f si) . (The Court will
schedule this date).

The parties may wish to engage in settlement discussions. To facilitate this process,
Plaintiff(s) agree(s) to make a demand on or before___, and Defendant(s) agree(s)
to respond to the demand on or before___.. 7 ‘ D

Counsel request a referral to the Court’s ADR program? Yes oO No ©.

Any additional matters:

The Defendant has filed a pre-motion conference request seeking leave to file a
motion to dismiss. The Plaintiffs have filed a letter in opposition to the request.
The Defendant's time to answer the Complaint was extended by minute order of
Judge Mauskopf, dated January 23, 2020, to 21 days after the Court makes an

order on any motion to dismiss, or until the Court otherwise,orders. L
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This scheduling order may be altered or amended only upon a showing of good
cause based on circumstances not foreseeable as of the date hereof.

Dated: Brooklyn, New York
a l 20 Le

2 0 Lng ’ VERA M. SCANLON
—_— T or w UNITED STATES MAGISTRATE JUDGE

Kf
